    Case 1:12-cr-00868-NRB Document 330 Filed 05/15/17 Page 1 of 5



Criminal Notice of Appeal - Fonn A



                                                   NOTICE OF APPEAL
                                                  United States District Court

                                     Soufhenn               District of      New York

Caption:
United States of America

                                                                                     Docket No.:   s5     i~ C.R ~/p &( nR8.)
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                                                                                                     (District Court Judge I

Notice is hereby given that   ]efe () d<ln + Leno.- - -lo..~\rien
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_Appeals for the Second Circuit from the judgment . / . other 1

enteredinthisactionon·        \'f\o.H 3: '10\r.
                                 (date)




This appeal concerns: CoJ'!viction only (__ Sentence qnly                 LJ    conviction & Senfence (__ Other       Li_
Defendant found guilly by p(ea   I    I trial i     l NIA I / .

Offense occurred after Ne>vember     t.   1987? Yes     IV         No [        NIA [

Date of sentence:   SemernbeJJ
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                               ,1. 1 'd.DIS                NIAL.J

Bail/Jail Disposition: Committed L_ Not committed I                  I    NIA I ./




Appellant is represented b.y counsel? Yes             I No I -./     If yes, pr.ovide the following infonnation:


Defendant's Counsel:

eouiisel's Address:




Counsers.Phone: -


                                                      Margaret Garnett
Assistant U.S. Attorney:
                                                      US Attorney's Office
 AUSA's Address:                                      1 Saint Andrews PLZ
                                                      NEW YORK, NY 10007
                                                      United States

 AUSA's Phone:
              Case 1:12-cr-00868-NRB Document 330 Filed 05/15/17 Page 2 of 5

     UNITED STATES COURTOF]ISTRlCT FOR THESECONP                                                 cmcurr
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                                                                  CERTIFICATE OF SERVICE*

                                                                  Docket Number:     .$5 I~      CR   ~(o& (0 RB)
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              I,   ~eno... "'c.sY1 eti                        hereby certify under penalty of perjury that
       (\I\                         (print name)                      · (\            V\       \
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                                                    (list all documents)
by (select all applicable)**

_      Person~(     Delivery                  j    United States Mail             _Federal Express or other
                                                                                     Overnight Courier
       Commercial Carrier                   _E-Mail (on consent)              Margaret Garnett
                                                                              US Attorney's Office
on the fo flowing parties:                                                    1 Saint Andrews PLZ
                                                                              NEW YORK, NY 10007
                                                                              United States
    Name                                Address                            City          State       Zip Code


    Name                                Address                            City          State       Zip Code


    Name-.                              Address                            City          State       Zip Code


    Name                                Address                            City          State       Zip Code

*A party must serve a copy of each paper qn the other parties, or their counsel to the appeal or
proceeding. The Court wil~reject papers for filing ifa certificate of service is not simultaneously
filed.

    **lf different methods of serviQe have been used on different parties, please complete a separate
    certificate of service fhr each party.




                   'toO.a'( sDate
       Certificate of Service Form(Last Revised 12fl015)
                     Case 1:12-cr-00868-NRB Document 330 Filed 05/15/17 Page 3 of 5


TRULINCS 67662054 - LASHER, LENA - Unit: DAN-0-A
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FROM: 67662054
TO:
SUBJECT: Lena Lasher District Court
DATE: 05/10/2017 05:27:34 PM

US District Courthouse Southern District of New York               5/11/2017
500 Pearl St.
NY, NY 10007

Dear Clerk of the Court,

My name is Lena Lasher. My case number is: S1         12 Cr. 868 (NRB) Judge Naomi Buchwald

I would like to file a notice of appeal; please send me a notice of appeal form.

Thank you very much.
Sincerely, ~~

Lena Lasher
Register# 67662-054
Federal Correctional Institution
33 & 1/2 Pembroke Road
Danbury, CT 06811-3099
                                                              Case 1:12-cr-00868-NRB Document 330 Filed 05/15/17 Page 4 of 5




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